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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 Eastern Division

SCIENTEL SOLUTIONS, LLC,
                Plaintiff,
                                                        Civil Action No. 1:17-CV-00937
v.
                                                        Judge Joan B. Gottschall
RICHARD SEIFF,
                      Defendant.


RICHARD SEIFF,
                      Counter-Plaintiff,

v.

SCIENTEL SOLUTIONS, LLC and
NELSON SANTOS,
                Counter-Defendants.


           PLAINTIFF SCIENTEL SOLUTIONS, LLC’S OPPOSITION TO
        DEFENDANT RICHARD SEIFF’S RULE 12(b)(6) MOTION TO DISMISS
       COUNTS III, IV, AND V OF SCIENTEL SOLUTIONS, LLC’S COMPLAINT

       Plaintiff, Scientel Solutions, LLC (“Scientel”), submits the following response to

Defendant, Richard Seiff’s (“Seiff”) Rule 12(b)(6) Motion to Dismiss Counts III, IV, and V of

Scientel’s Complaint (ECF No. 23).

                                     I.      INTRODUCTION

       Scientel brought this action on February 3, 2017, after it discovered that Seiff, its former

Vice President of Operations, secretly misappropriated hundreds of computer files containing

Scientel’s trade secrets and other confidential business information in the days before he abruptly

resigned on January 13, 2017. Complaint ¶¶ 2-3 (ECF No. 1). Scientel’s Complaint alleged five




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counts: (1) misappropriation of Scientel’s trade secrets in violation of the Defend Trade Secrets

Act (“DTSA”), 18 U.S.C. § 1836; (2) misappropriation of Scientel’s trade secrets in violation of

the Illinois Trade Secrets Act (“ITSA”), 765 ILCS 1065, et seq.; (3) conversion; (4) breach of

fiduciary duty; and (5) breach of contract. Complaint ¶¶ 65-103.

       Seiff now moves to dismiss the Complaint and, in so doing, relies on immaterial and/or

groundless legal arguments. Scientel has pled more than sufficient facts to place Seiff on notice

of all of its claims. In addition, the law does not support Seiff’s assertions that the ITSA

preempts Scientel’s conversion and breach of fiduciary duty claims.            Accordingly, Seiff’s

Motion should be denied in its entirety.

                                 II.       STANDARD OF REVIEW

       Motions to dismiss pursuant to Rule 12(b)(6) are intended “to test the sufficiency of the

complaint, not to decide the merits’ of the plaintiff’s case.” Ctr. for Dermatology & Skin

Cancer, Ltd. v. Burwell, 770 F.3d 586, 588 (7th Cir. 2014). To survive a Rule 12(b)(6) motion, a

complaint need only “contain sufficient factual matter, accepted as true, ‘to state a claim to relief

that is plausible on its face.’” Stapleton v. Advocate Health Care Network, 817 F.3d 517, 521

(7th Cir. 2016) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “Plausibility” in the

context of a complaint means that the plaintiff must only include “enough details about the

subject-matter of the case to present a story that holds together.” Swanson v. Citibank, N.A., 614

F.3d 400, 404–05 (7th Cir. 2010).

       To properly analyze the sufficiency of Scientel’s Complaint, this Court must construe the

allegations contained therein in the light most favorable to Scientel, accept well-pleaded facts as

true, and draw all inferences in Scientel’s favor. Carlson v. CSX Transp., Inc., 758 F.3d 819,



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826 (7th Cir. 2014). “[I]f it is possible to hypothesize a set of facts that would entitle the

plaintiff to relief, consistent with the allegations in the complaint, dismissal under Rule 12(b)(6)

is inappropriate.” Fogarty v. City of Chicago, 2001 WL 946477, at *2 (N.D. Ill. Aug. 20, 2001)

(citing Graehling v. Village of Lombard, 58 F.3d 295, 297 (7th Cir.1995)).

                           III.    ARGUMENTS AND AUTHORITIES

   A. The ITSA Does Not Preempt Scientel’s Conversion Claim.

       The ITSA does not preempt Scientel’s conversion claim because it does not depend on

Seiff’s theft of Scientel’s trade secrets. Section 8(a) of the ITSA states that “this Act is intended

to displace conflicting tort, restitutionary, unfair competition, and other laws of this State

providing civil remedies for misappropriation of a trade secret.” 765 ILCS 1065/8(a) (emphasis

added). Seiff’s blanket assertion that “the ITSA preempts all claims of conversion of intangible

property,” is directly contrary to the plain language of the statute, as well as Seventh Circuit

precedent. By its express terms, “[t]he Act does not affect . . . civil remedies that are not based

upon misappropriation of a trade secret.” 765 ILCS 1065/8(b)(2). In all events, the Seventh

Circuit narrowly construed the scope of ITSA preemption in Hecny Transp., Inc. v. Chu, 430

F.3d 402 (7th Cir. 2005).         Specifically, the Seventh Circuit found that Illinois’ ITSA

jurisprudence was consistent with “the dominant view [] that claims are foreclosed only when

they rest on the conduct that is said to misappropriate trade secrets.” Id. at 404-05. In other

words, ITSA preemption “does not apply to duties imposed by law that are not dependent upon

the existence of competitively significant secret information.” Id. (emphasis added). The test

for ITSA preemption is whether Scientel’s conversion claim would stand if the information at

issue was not trade secret. RTC Indus., Inc. v. Haddon, 2007 WL 2743583, at *3 (N.D. Ill. Sept.



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10, 2007) (citing Hecny, 430 F.3d at 405 (“An assertion of trade secret in a customer list does not

wipe out claims of theft, fraud, and breach of the duty of loyalty that would be sound even if the

customer list were a public record.”)).

       Contrary to Seiff’s assertions, Scientel does not base its conversion claim solely on trade

secret information. Scientel’s Complaint alleges, rather, that Seiff had access to both trade secret

information, as described in Paragraph 20, and other “confidential and sensitive,” but not

necessarily trade secret, information described in Paragraph 21.        Complaint ¶¶ 20 (listing

examples of confidential, proprietary, and trade secret information) and 21 (“In addition to the

[information described in paragraph 20], Seiff also had access to confidential and sensitive

personnel information relating to prospective employees, and internal templates used for project

proposals and official correspondence.”) (emphasis added); see also id. ¶ 38 (alleging that,

“[b]efore he resigned, Seiff used the trust and network access afforded to him as Scientel’s

employee to pilfer thousands of Scientel’s files containing the confidential, proprietary, and trade

secret information described in Paragraphs 20 and 21”) (emphasis added).

       Courts in this District have applied the Seventh Circuit’s narrow interpretation of Section

8 to deny motions to dismiss based on ITSA preemption where, as here, the claims at issue, did

not rely on the existence of a trade secret. See, e.g., CDM Media USA, Inc. v. Simms, 2015 WL

1399050, at *6 (N.D. Ill. Mar. 25, 2015) (denying motion to dismiss common law

misappropriation count because “like the torts of conversion, theft, and breach of fiduciary duty,

the tort of common law misappropriation is not necessarily preempted by the [ITSA] since it

does not depend on secret information”) (emphasis added) (citing Hecny, 430 F.3d at 405);

Network Cargo Sys. Int’l, Inc. v. Pappas, 2014 WL 1674650, at *5 (N.D. Ill. Apr. 25, 2014)



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(denying motion to dismiss where “[plaintiff’s] common law claims implicate legal duties that

do not depend on whether its business information ultimately meets the ITSA’s definition of a

‘trade secret’”) (citing Hecny, 430 F.3d at 405); U.S. Gypsum Co. v. LaFarge N. Am., Inc., 508

F. Supp. 2d 601, 638 (N.D. Ill. 2007), adhered to in part on reconsideration, 2007 WL 2091020

(N.D. Ill. July 18, 2007) (where “state law claims are primarily based on appropriation of

information . . . to the extent particular information is not a trade secret, the claim is not

preempted”).

       In his Motion, Seiff attempts to avoid the precedential weight of Hecny and its progeny

by citing it as a mere “see also,” while relying primarily on federal district court cases decided

before Hecny to support his preemption argument. See Motion at 2-3 (citing Ace Novelty Co. v.

Vijuk Equip., Inc., 1990 WL 129510, at *3 (N.D. Ill. Aug. 31, 1990); AutoMed Tech, Inc. v.

Eller, 160 F. Supp. 3d 915, 922 (N.D. Ill. 2001)). Seiff’s pre-Hecny cases were effectively

overruled, and at least are unpersuasive, to the extent they reflect the broad interpretation of

ITSA preemption applied by federal courts prior to Hecny. See EBI Holdings, Inc. v. Butler,

2009 WL 400634, at *4 (C.D. Ill. Feb. 17, 2009) (“The Hecny decision marked a departure from

the broad preemptive effect that had been applied in prior federal cases interpreting Illinois law.

Thus, the pre-Hecny cases upon which [defendant] relies are unpersuasive.”).

       To the extent Seiff’s cases are consistent with Hecny, they are easily distinguishable

because, unlike here, they involved claims for conversion based solely on trade secret

information. For example, in Ace Novelty (decided fifteen years before Hecny), the plaintiff

alleged a claim for conversion of “research and development,” which consisted of “plans and

ideas.” Ace Novelty, 1990 WL 129510, at *3. The court explained that the ITSA includes in its



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definition of “trade secret”: “technical or non-technical data, a formula, pattern, compilation,

program, device, method, technique, drawing, process, financial data, or list of actual or potential

customers or suppliers.” Id. The court found that the plaintiff’s “research and development,” fell

within the examples of trade secrets enumerated in the ITSA and held that the exclusive remedy

for conversion of such trade secrets lay in the ITSA itself. Id. at *4. See also QSRSoft, Inc. v.

Rest. Tech., Inc, 2006 WL 3196928, at *9-10 (N.D. Ill. Nov. 2, 2006) (conversion claim was

preempted where subject information was “identical to the trade secrets” alleged in plaintiff’s

ITSA Count); AutoMed Techs., 160 F. Supp. 2d at 922 (“ITSA only preempts actions predicated

on misuse of secret information. Common law claims based on different theories are still

permissible.”) (emphasis added).

       In summary, Scientel has properly alleged a count for conversion of its proprietary

information that is confidential to Scientel but not necessarily a trade secret within the meaning

of the ITSA. At this stage in this litigation, Scientel does not yet know all of the information that

Seiff misappropriated, and it is entitled to discovery to determine which of that information is

trade secret and which is non-trade-secret confidential information. Accordingly, Seiff’s motion

as to Count III must be denied.

   B. Count IV Properly States a Claim for Breach of Fiduciary Duty

       Seiff’s challenge to Scientel’s breach of fiduciary duty claim is plainly premature. This

case is before the Court on a motion to dismiss under Rule 12(b), not on summary judgment after

a full and fair airing of the relevant facts through discovery. Significantly, nearly every opinion

on which Seiff relies in support of his arguments for dismissing Count IV is either a summary

judgment or post-trial ruling. See Learning Curve Toys, L.P. v. Playwood Toys, Inc., 1999 WL



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529572 at *3 (N.D. Ill. July 20, 1999) (summary judgment); Thomas & Betts Corp. v. Panduit

Corp., 108 F. Supp. 2d 968, 971-72 (N.D. 111. 2000) (summary judgment); Thermodyne

FoodServ. Prods., Inc. v. McDonald’s Corp., 940 F. Supp. 1300, 1309 (N.D. Ill. 1996) (summary

judgment); Voss Eng’g, Inc. v. Voss Indus., Inc., 134 Ill. App. 3d 632, 635-636 (Ill. App. Ct.

1985) (post-trial appellate decision). These cases are inapposite as they constitute “summary

judgment decisions that addressed not the content of complaints but the evidence needed to take

a claim to a jury.” Carlson, 758 F.3d at 827.

       1. The ITSA Does Not Preempt Scientel’s Breach of Fiduciary Duty Claim.

       Seiff argues that Scientel’s claim for breach of fiduciary duty (Count IV) is based “upon

Seiff’s alleged misappropriation of confidential information,” and is thus preempted by the

ITSA. First, Seiff misapprehends the nature of Scientel’s allegations. In this case, Scientel’s

breach of fiduciary duty claim is not predicated on the misappropriation of its trade secrets. See

Complaint, Count IV, ¶ 92 (“Defendant was obligated to use Plaintiff’s information, regardless

of whether constituting a trade secret, only on behalf of Plaintiff for its exclusive benefit.”)

(emphasis added).

       Pursuant to Seventh Circuit and Illinois law, claims such as Count IV that do not depend

on the existence of a trade secret, are not preempted by the ITSA. Hecny, 430 F.3d at 405 (“The

[ITSA] does not apply to duties imposed by law that are not dependent upon the existence of

competitively significant secret information, like an agent’s duty of loyalty to his or her

principal.”); Alpha Sch. Bus Co. v. Wagner, 391 Ill. App. 3d 722, 737 (Ill. App. Ct. 2009)

(breach of fiduciary duty claim alleging improper use of trade secrets among other fiduciary

misconduct was “not dependent upon the misappropriation of trade secrets,” and thus not



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preempted); Traffic Tech, Inc. v. Kreiter, 2015 WL 9259544, at *9 (N.D. Ill. Dec. 18, 2015)

(“[T]he relevant question is whether [the] breach of fiduciary duty claim would stand even if the

information that [Defendant] allegedly misappropriated does not constitute trade secrets.”);

Montel Aetnastak, Inc. v. Miessen, 998 F. Supp. 2d 694, 719 (N.D. Ill. 2014) (denying dismissal

of breach of fiduciary claims that did not rest solely on the sharing of confidential information);

Combined Metals of Chicago Ltd. v. Airtek, Inc., 985 F. Supp. 827, 830 (N.D. Ill. 1997) (denying

motion to dismiss, reasoning that fiduciary duty claim based on information that failed to qualify

as a trade secret could not be preempted by ITSA).

       Again, Seiff relies primarily on pre-Hecny opinions in an attempt to bolster his flimsy

preemption argument. See Motion at 3-4 (collecting cases). At least one court in this District

has concluded “Hecny departs from the broad preemptive effect applied in these prior cases.”

RTC Indus., Inc. v. Haddon, 2007 WL 2743583, at *3 (N.D. Ill. Sept. 10, 2007) (denying

defendant’s ITSA preemption claims, which “rel[ied] exclusively on pre-Hecny cases,” including

Learning Curve Toys, L.P. v. Playwood Toys, Inc., 1999 WL 529572, *3 (N.D. Ill. July 20,

1999)). Aside from the de minimis persuasive value of Seiff’s pre-Hecny cases, each arises at the

summary judgment phase and consequently involved post-discovery evidentiary considerations

that are not yet before this Court. See, e.g., Thomas & Betts Corp., 108 F. Supp. 2d at 972

(holding that the ITSA preempted plaintiff’s breach of fiduciary duty claim where “[t]he

evidence [was] substantial that the confidential sales data and related information that

[defendant] allegedly took . . . constitute trade secrets under the statute”); Thermodyne FoodServ.

Prods., Inc., 940 F. Supp. at 1309 (granting summary judgment for defendant on preemption

grounds because plaintiff failed to demonstrate “underlying factual basis” for breach of fiduciary



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duty claim, specifically, that the claim was “premised on conduct other than the misappropriation

of [plaintiff’s] trade secret”).

        Seiff points to only a singular post-Hecny, pre-discovery case in support of his argument

that Scientel’s breach of fiduciary duty claim is preempted: Carpenter v. Aspen Search Advisors,

LLC, 2011 WL 1297733, at * 2 (N.D. Ill. Apr. 5, 2011). That brief opinion, however, does

nothing to address the allegations at issue here. The fiduciary duty alleged in Carpenter was

predicated entirely on a confidentiality agreement. Id. at *2. Here, Scientel has alleged that, as a

result of his employment, Seiff owed Scientel a duty of loyalty “that prohibited him from

actively exploiting his position for his personal benefit, or hindering Plaintiff from carrying out

its business.” Complaint ¶ 91. Scientel also alleged that Seiff “was obligated to use Plaintiff’s

information, regardless of whether constituting a trade secret, only on behalf of Plaintiff for its

exclusive benefit.” Id. at ¶ 92 (emphasis added).

        Because Seiff’s fiduciary duties as Scientel’s former Vice President prohibits his use of

information that does not qualify as trade secrets, Scientel’s breach of fiduciary duty claim is not

dependent upon the existence of competitively significant secret information and, therefore, not

preempted.

        Accordingly, the Court should deny Seiff’s motion as to Count IV of Scientel’s

Complaint, alleging breach of fiduciary duty.

        2. Seiff Breached His Fiduciary Duties

        Seiff halfheartedly asserts that “the Complaint contains nothing more than conclusory

allegations that Seiff prepared to compete, which cannot, on its own, support a claim for breach

of fiduciary duty.” Motion at 4. Declaring a claim “conclusory” is not a proper basis for



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dismissal. Carlson, 758 F.3d at 830. Indeed, “[a] plaintiff’s complaint can plead conclusions so

long as these conclusions provide the defendants at least minimal notice of the claim.” Fogarty,

2001 WL 946477, at * 2 (citing Jackson v. Marion County, 66 F.3d 151, 154 (7th Cir. 1995)).

       Seiff further claims that “[i]t is well settled under Illinois law that merely preparing to

compete does not constitute a breach of a fiduciary duty.” Motion at 4. Here again, Seiff

musters ancient, immaterial cases, none of which support the dismissal he seeks. See Voss

Eng’g, Inc., 134 Ill. App. 3d at 636 (affirming judgment for defendants entered by trial court,

which found—after a full trial on the merits—that “the evidence was insufficient to show that

defendants’ activities went beyond these preliminary planning stages or that they commenced

business while still employed by plaintiff”); Radiac Abrasives, Inc., 177 Ill. App. 3d at 637–38

(“[A]n agent is not entitled to solicit customers for [a] rival business before the end of his

employment, nor can he properly do other similar acts in direct competition with the employer’s

business”).

       In all events, Scientel has alleged far more than mere preparation. Specifically, as stated

in the Complaint, Seiff breached his fiduciary duties of loyalty and good faith to Scientel when

he “accessed, copied, and took information belong to Plaintiff without a valid purpose or reason

in Plaintiff’s interest . . . [and] attempted to conceal his misconduct from Plaintiff’s detection.”

Complaint ¶¶ 91, 92.

       Scientel has sufficiently stated a claim for breach of fiduciary duty. Seiff’s motion to

dismiss Count IV must, therefore, be denied.




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   C. Count V Properly States a Claim for Breach of Contract

       Seiff asserts, without reference to any supporting legal authority, that the Employee

Handbook, by its own terms, “is not a contract, agreement or document that can be read to confer

any contractual rights whatsoever on any person,” and thus “cannot form the basis of [Scientel’s]

breach of contract claim.” Motion at 6. Seiff’s argument is based on his own misinterpretation

of a single provision in the Employee Handbook, which states:

       Neither this handbook nor any other company guidelines, policies or practices
       creates an employment contract, agreement, or confers any contractual rights
       whatsoever.

Id. (emphasis added).     Read plainly, the subject provision creates neither a contract of

employment nor any other rights for the employee. The Employee Handbook does, however,

impose obligations upon the employee with regard to the employee’s treatment of Scientel’s

confidential information and access to its internal data networks. See, e.g., Complaint ¶ 29

(“[E]mployees may not use the Company’s communication and computer systems in violation of

any law including, but not limited to, those related to copyrights and software piracy.”); id. at ¶

30 (“Employees will not disclose confidential information . . .”). For agreeing to perform the

obligations laid out in the Employee Handbook, employees receive due consideration in the form

of continued employment with Scientel. See id. at ¶ 31 (“An employee who violates either policy

is subject to disciplinary action, including termination.”). The Employee Handbook thus forms a

valid and enforceable contract.1




       1
          In all events, the Employee Handbook makes it unmistakably clear that as a senior
executive, Seiff’s fiduciary duties included protecting Scientel’s confidential information, and
that he certainly was not authorized to take and use Scientel’s confidential information.


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       The allegations in the Complaint set forth sufficient facts to state a claim for breach of

contract. Accordingly, Seiff’s motion as to Count V must be denied.

                                     IV.     CONCLUSION

       For all the foregoing reasons, Scientel respectfully requests that this Court deny Seiff’s

motion to dismiss.



Dated: March 24, 2017                       Respectfully submitted,

                                            SCIENTEL SOLUTIONS, LLC

                                            By its attorneys,

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                                CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 5(b) and Northern District of Illinois Local

Rule 5.5, counsel for Plaintiff Scientel Solutions, LLC certifies that on March 24, 2017, a true

and correct copy of the foregoing Opposition to Defendant, Richard Seiff’s Rule 12(b)(6)

Motion to Dismiss Counts III, IV, and V of Scientel’s Complaint was electronically filed with

the Clerk of Court through the ECF system, and will be sent electronically to all counsel of

record as identified on the Notice of Electronic Filing (NEF).


Dated: March 24, 2017                        Respectfully submitted,

                                             SCIENTEL SOLUTIONS, LLC

                                             By its attorneys,

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